  Case:
Case     23-1818    Document:
     4:22-cv-03283-HSG        28 62
                        Document Page: 1 12/06/23
                                    Filed Filed: 12/06/2023
                                                    Page 1 of 2




              NOTE: This order is nonprecedential.


      United States Court of Appeals
          for the Federal Circuit
                     ______________________

                       LARRY GOLDEN,
                       Plaintiff-Appellant

                                v.

               QUALCOMM INCORPORATED,
                    Defendant-Appellee
                  ______________________

                           2023-1818
                     ______________________

       Appeal from the United States District Court for the
    Northern District of California in No. 4:22-cv-03283-HSG,
    Judge Haywood S. Gilliam, Jr.
                     ______________________

       ON PETITION FOR PANEL REHEARING AND
                REHEARING EN BANC
                 ______________________

       Before MOORE, Chief Judge, LOURIE, BRYSON 1, DYK,
        PROST, REYNA, TARANTO, CHEN, HUGHES, STOLL,
           CUNNINGHAM, and STARK, Circuit Judges. 2



        1   Circuit Judge Bryson participated only in the deci-
    sion on the petition for panel rehearing.
        2   Circuit Judge Newman did not participate.
  Case:
Case     23-1818    Document:
     4:22-cv-03283-HSG        28 62
                        Document Page: 2 12/06/23
                                    Filed Filed: 12/06/2023
                                                    Page 2 of 2




    2                       GOLDEN v. QUALCOMM INCORPORATED




    PER CURIAM.
                            ORDER
        Larry Golden filed a combined petition for panel re-
    hearing and rehearing en banc.The petition was referred to
    the panel that heard the appeal, and thereafter the petition
    was referred to the circuit judges who are in regular active
    service.
        Upon consideration thereof,
        IT IS ORDERED THAT:
        The petition for panel rehearing is denied.
        The petition for rehearing en banc is denied.
        The mandate of the court will issue December 13, 2023.


                                                 FOR THE COURT




    December 6, 2023
       Date
